               Case 2:18-cv-00525-RSL Document 264-1 Filed 05/06/21 Page 1 of 2




 1                                                                       The Honorable Robert S. Lasnik

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9    ADRIENNE BENSON AND MARY
      SIMONSON, individually and on behalf of all               No. 2:18-cv-00525-RSL
10    others similarly situated,
                                                                [PROPOSED] ORDER GRANTING
11                                      Plaintiffs,             DEFENDANT DOUBLE DOWN
                                                                INTERACTIVE, LLC’S RENEWED
12              v.                                              MOTION TO COMPEL
                                                                ARBITRATION AND TO STAY
13    DOUBLE DOWN INTERACTIVE, LLC, et al.,
                                                                NOTED FOR CONSIDERATION:
14                                      Defendants.             MAY 28, 2021
15                                                              ORAL ARGUMENT REQUESTED
16
                This matter came before the Court on the Defendant Double Down Interactive, LLC’s
17
      (“Double Down”) Renewed Motion to Compel Arbitration and to Stay. The Court, having
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      considered the motion, Plaintiffs’ response, and Double Down’s reply, HEREBY ORDERS
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      that Double Down’s Motion to Compel Arbitration and to Stay is GRANTED. The Court
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      further rules:
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                (1)    Plaintiffs are ordered to arbitrate their claims against Double Down on an
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                       individualized basis pursuant to the terms of their agreements; and
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                (2)    This action is hereby stayed pending the outcome of the arbitration proceedings.
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                IT IS SO ORDERED.
25
      DATED this ___ day of ______________, 2021.
26                                                            __________________________________
                                                              UNITED STATED DISTRICT JUDGE
27
     [PROPOSED] ORDER GRANTING DOUBLE DOWN’S                                       Davis Wright Tremaine LLP
                                                                                            L AW O FFICE S
     RENEWED MOTION TO COMPEL ARBITRATION AND TO STAY                                 920 Fifth Avenue, Suite 3300
     (2:18-cv-00525-RSL) - 1                                                            Seattle, WA 98104-1610
                                                                                 206.622.3150 main · 206.757.7700 fax
     4815-5207-1912v.1 0111414-000001
               Case 2:18-cv-00525-RSL Document 264-1 Filed 05/06/21 Page 2 of 2



      Presented by:
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     [PROPOSED] ORDER GRANTING DOUBLE DOWN’S                       Davis Wright Tremaine LLP
                                                                            L AW O FFICE S
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